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                           UNITED STATES DISTRICT COURT

                          EASTERN DISTRICT OF LOUISIANA

CHRISOPHER MAZIER            *                        CIVIL ACTION NO.:
                             *
VERSUS                       *                        SECTION:
                             *
DDT INC., CHEROKEE INSURANCE *                        MAGISTRATE:
COMPANY, HAKEEM A. HILDRETH, *


                               COMPLAINT FOR DAMAGES

MAY IT PLEASE THE COURT:

       NOW COMES, through undersigned counsel, Plaintiff, CHRISTOPHER MAZIER, a

person of the full age and majority residing and domiciled in the State of Louisiana, who

respectfully pleads the following averments:

                                                I.

       Defendant, DDT INC., is a non-Louisiana business corporation domiciled in the State of

Tennessee, and whose registered agent for service of process is DDT, INC., 219 Springfield Lane,

Jacksboro, TN 37757-2235.

                                               II.

       Defendant, CHEROKEE INSURANCE COMPANY, (hereinafter “CHEROKEE”) is a

non-Louisiana insurance company domiciled in the State of Michigan, and who can be served

through the Louisiana Secretary of State, 8585 Archives Avenue, Baton Rouge, LA 70809.

                                               III.

       Defendant, HAKEEM A. HILDRETH, is a person of the full age of majority and

domiciliary of the State of Alabama, who can be served at his domicile at 5350 Ken Sealy Drive,

Apt. B116, Cottondale, AL 35453.




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                                                IV.

        This Honorable Court possesses subject matter jurisdiction by virtue of 28 U.S.C. § 1332,

based on the diversity of citizenship of the parties and the amount in controversy exceeds

$75,000.00.

                                                 V.

        Venue is proper in the Eastern District of Louisiana pursuant to 28 U.S.C. §1391(b)(2) as

the events giving rise to the claim occurred in this federal district, particularly, in the Parish of

Orleans, State of Louisiana.

                                                VI.

        The Defendants, DDT INC., CHEROKEE, and HAKEEM HILDRETH, are truly, justly,

legally, and solidarily bound unto Plaintiff for the full sum and amount to be determined by this

Honorable Court, together with legal interest and court costs.

                                                VII.

        On or about November 8, 2021 at approximately 7:30 a.m., in the Parish of Orleans, State

of Louisiana, on Interstate 10 westbound at or near the Crowder Blvd. on-ramp, a rear-end collision

took place between a 2012 Freightliner truck and attached trailer, operated by HAKEEM

HILDRETH and owned by DDT, INC., and/or ROBERT HILDRETH, JR., and a 2005 Toyota

Camry, operated by Plaintiff, CHRISTOPHER MAZIER.

                                               VIII.

        The aforementioned collision was, upon information and belief, due to the negligence

and/or fault of Defendant, HAKEEM HILDRETH, as listed in, but not limited to, the following

particulars:

    a. Failing to operate his truck and trailer in a safe manner;




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   b. Failing to take reasonable precautions to avoid the crash;

   c. Carless operation of a motor vehicle;

   d. Following too closely;

   e. Failing to see what he should have seen;

   f. Failure to use reasonable vigilance;

   g. In negligently colliding into the Plaintiff’s vehicle;

   h. In driving inattentively; and

   i. Any and all other acts of negligence and/or fault which will be proven at a trial on the

       merits.

                                                IX.

       At all times pertinent hereto, Defendant, CHEROKEE, was believed to be the automobile

liability insurer of HAKEEM HILDRETH and/or his employer DDT, INC., and/or the truck and

trailer operated by HAKEEM HILDRETH, which policy of automobile insurance was in full force

and effect at all times pertinent hereto and rendered CHEROKEE liable jointly, severally, and in

solido with its insured, HAKEEM HILDRETH and/or his employer, DDT INC., to Plaintiff herein.

                                                 X.

       At all times pertinent hereto, it is believed that HAKEEM HILDRETH was in the course

and scope of his duties under his employment with DDT INC., and therefore, DDT INC. is liable

for any and all acts of fault and/or negligence attributable to HAKEEM HILDRETH under the

doctrine of respondeat superior.

                                                XI.

       At all times pertinent hereto, DDT INC. was the employer of HAKEEM HILDRETH and

owner of the truck and/or attached trailer operated by HEKEEM HILDRETH in the course and




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scope of his employment, and upon information and belief, is guilty of negligence and/or fault in

causing the subject crash, as listed in, but not limited to, the following particulars:

   a. Negligently screening, hiring and retaining HAKEEM HILDRETH as an employee;

   b. Failing to properly supervise HAKEEM HILDRETH in the operation of company vehicles;

   c. Failing to properly train HAKEEM HILDRETH in the operation of company vehicles;

   d. Allowing an unfit, unsafe, and/or incompetent driver to operate a company vehicle;

   e. Allowing HAKEEM HILDRETH to operate a company vehicle in reckless and careless

       manner; and

   f. Any and all acts of fault and/or negligence which will be proven at a trial on the merits.

                                                 XII.

       As a result of the aforementioned crash, Plaintiff, CHRISTOPHER MAZIER, has

sustained severe, painful, permanent injuries which have necessitated continued and numerous

doctor visits and other out of pocket charges for which Plaintiff seeks reasonable and adequate

compensation for his past, present, and future special damages. Plaintiff further sustained and

suffered much pain and suffering, inconvenience, mental anguish, emotional distress, loss of

enjoyment of life, lost wages and loss of earning capacity, and other intangible damages as a result

of the injuries sustained in this November 8, 2021 accident, and Plaintiff seeks reasonable and

adequate compensation for his past, present, and future losses and damages.

                                                XIII.

       Plaintiff avers that all expert fees required in the trial of this case should be assesses as

costs and that the Defendants should be cast in judgment for said costs.




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                                               XIV.

       Plaintiff reserves his right to supplement and amend this complaint, as additional facts

become known to him.

       WHEREFORE, Plaintiff, CHRISTOPHER MAZIER, prays that Defendants, DDT INC.,

CHEROKEE, and HAKEEM HILDRETH, be duly served with a copy of this Complaint in

accordance with the law and cited to appear and answer it, and after all legal delays and due

proceedings have been had, that there be judgment in favor of Plaintiff and against Defendants,

jointly, severally, and in solido for a reasonable amount to compensate Plaintiff for his damages,

together with legal interest from date of judicial demand until paid, and all expert fees and costs

of these proceedings. Plaintiff further prays for all general and equitable relief allowed by law.

                                              Respectfully submitted,

                                              TONRY & GIRAUD


                                              /s/ Cullen Tonry
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